o . Case 2:10-md-02179-CJB-DPC Document 12440-4 Filed 03/03/14 Page 1 of 20

AVR SING UOTE WU CONE VALSINID TAN ETTE DT

EXCESS INSURANCE POLICY — |

Liberty

International
Underwriters.

Member of liberty Mutual Group

CONFIDENTIAL LIU 01482

Case 2:10-md-02179-CJB-DPC Document 12440-4 Filed 03/03/14 Page 2 of 20

Excess Insurance Policy

LIBERTY INSURANCE UNDERWRITERS INC.

{A New York Stock Insurance Company, hereinafter the “Insurer”)
55 Water Street, 18 Floor, New York, NY 10041
Toll-free number: 1-800-677-9163

EXCESS LIABILITY POLICY DECLARATIONS

Policy Number: LQ1B71198583046

Renewal oft LQ1B71198583036
Broker: Marsh, USA Inc,
1000 Main Street- Suite 300
Houston, Texas 77002

Ttexn 1: NAMED INSURED AND MAILING ADDRESS
CAMERON INTERNATIONAL CORPORATION
1333 WEST LOOP SOUTH
Suite 1700
Honston, TX 77027-9118

(as Per First Underlying Insurance Policy)

Item 2: POLICY PERIOD
From: July 1, 2009 To: July 1, 2010
12:01 AM Standard Time at the mailing address of the Named Insured shown,

Item _ 3: POLICY PREMIUM: $210,000.00 POLICY MINIMUM PREMIUM: $0.00
TRIA Premium: Rejected
Total Annual Premium: $210,000.00

Premium Basis: (x) Flat QAuditable

Item 4 LIMITS OF LIABILITY
Ouz liability under this policy will not exceed the following limit: 100.00% percent of “loss” excess of the
Underlying Insurance stated in Item 5 of the Declarations, but for no greater than:

$50,000,000.00 -Each Occurrence
$50,000,000.00 -Agpregate Limit (where applicable)

O100-XS (03 00)

CONFIDENTIAL LIU 01483

Case 2:10-md-02179-CJB-DPC Document 12440-4 Filed 03/03/14 Page 3 of 20

Excess Insurance Policy

tem 5: SCHEDULE OF UNDERLYING INSURANCE
Fitst Underlying Insurance Policy
Insurer: Illinois National Insurance Company Applicable Limit(s)
Policy Number: 27471353 $25,000,000.00 -Each Occurrence
Policy Period: 7/1/2009 to 7/1/2010 $25,000,000.00 -Agpregate Limit(where applicable)

peeeett nati go

Other Underlying Insurance-

(Excess of First Underlying Insurance Policy)

Insurer: Various Companies Applicable Limit(s)

Policy Number: As per on file with company $75,000,000.00 = -Each Occurrence

Policy Petiod: 7/1/2009 to 7/1/2010 $75,000,000.00  -Agprepate Limit(where
applicable)

Ttem 6: FORMS AND ENDORSEMENTS attached hereto:
See Forms and Endorsement Schedule — 0104-XS (Ed. 03/00)

IN CONSIDERATION OF THE PAYMENT OF THE PREMIUM, IN RELIANCE UPON THE STATEMENTS IN THE
DECLARATIONS, AND SUBJECT TO ALL TERMS OF THIS POLICY, WE AGREE WITH YOU TO PROVIDE
COVERAGE AS STATED IN THIS POLICY.

A 00M Duter € Lay

PRESIDENT VICE PRESIDENT and SECRETARY
David A. Cohen Dexter R. Legg

a
0100-XS (03 00)

CONFIDENTIAL LIU 01484

Case 2:10-md-02179-CJB-DPC Document 12440-4 Filed 03/03/14 Page 4 of 20

Excess Insurance Policy

LIBERTY INSURANCE UNDERWRITERS INC.

(A New York Stock Insurance Company, hereinafter the “Insurer”’)
55 Water Street, 18% Floor; New York, NY 10041
Toll-free number: 1-800-677-9163

EXCESS FORMS AND ENDORSEMENTS SCHEDULE

Effective Date: July 1, 2009 Expiration Date: July 1, 2010
Policy Number: LQ1B71198583046
Issued To: CAMERON INTERNATIONAL CORPORATION

Itis hereby understood and agreed the following forms and endorsements ate attached to and ate a part of this policy:

Form Number Form Name Endorsement No,
0100-XS (03/00) Excess Policy Liability Declarations

0104-XS (Ed. 03/00) Excess Forms and Endorsements Schedule

0188-XS Ed. 03/00) Asbestos Exclusion 10

0200-XS (04 07) Crisis Communication Management Insurance Endorsement 2

0102-XS Gad. 03/00) Nuclear Energy Liability Exclusion Endorsement 3

O160-XS (Ed. 03/00) Pollution Limitation Endorsement Follow Form 4

Excess 4011 (05/06) War Liability Exclusion 5
E-TX-XS (Ed. 03 02) Texas Amendatory Endorsement 6
TRIA-EX-E001-0208 Exclusion of Certified Acts of Terrorism 7
LIUNOTICE-TX-002-0209 Texas Notice |
0101-XS (Ed. 03 00) Excess Liability Policy

0104-XS (03 00)

CONFIDENTIAL LIU 01485

Case 2:10-md-02179-CJB-DPC Document 12440-4 Filed 03/03/14 Page 5 of 20

Excess Insurance Policy

LIBERTY INSURANCE UNDERWRITERS INC.

(A New York Stock Insurance Company, hereinafter the “Insurer”)

ENDORSEMENT NO, 1

THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

Named Insured) CAMERON INTERNATIONAL CORPORATION
Policy Numbes: LQ1B71198583046
Effective Date: July 1, 2009

ASBESTOS EXCLUSION

This policy does not apply to:

Any “loss”, including, but not limited to settlements, judgments, costs, charges, expenses, costs of investigations or the
fees of attorneys, experts, or consultants arising out of or related in any way, whether directly or indirectly to:
(1) asbestos, asbestos products, asbestos-containing matetials or products, asbestos fibers or asbestos dust,
including, but not limited to, manufacture, mining, use, sale, installation, removal, or distribution activities;

(2) exposute to testing for, monitoring of, cleaning up, removing, containing or treating of asbestos, asbestos
products, asbestos-containing materials or products, asbestos fibers or asbestos dust; or

(3) any obligation to investigate, settle or defend, or indemnify any person against any claim or suit arising out of,
or related in any way, either ditectly or indirectly, to asbestos, asbestos products, asbestos-containing materials
or products, asbestos fibers or asbestos dust.

This endotsement does not change any othcr provision of the policy.

Zl
0188-XS (Ed. 03/00)

CONFIDENTIAL LIU 01486

sn rauniremenithietetenintnmnblimneyinee tee Sete tre Efe at

Case 2:10-md-02179-CJB-DPC Document 12440-4 Filed 03/03/14 Page 6 of 20

Excess Insurance Policy

LIBERTY INSURANCE UNDERWRITERS INC.

(A New York Stock Insurance Company, hereinafter the “Insurer’)

ENDORSEMENT NO. 2

THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

Named Insured: CAMERON INTERNATIONAL CORPORATION
Policy Number: 1,Q1B71198583046
Effective Date: July 1, 2009

CRISIS COMMUNICATIONS MANAGEMENT INSURANCE ENDORSEMENT

It is understood and agreed that this policy shall not be subject to the terms and conditions of Endorsement Form
Number, As per on file with company, (Crisis Communications Management Insurance) of Policy Number: 27471353,
issued by Hlinois National Insurance Company, and under no circumstances shall this Policy provide coverage for Crisis
Management Loss as defined herein,

‘

All other terms, conditions and exclusions of the Policy remain unchanged.

0200-XS (04 07)

CONFIDENTIAL LIU 01487

Case 2:10-md-02179-CJB-DPC Document 12440-4 Filed 03/03/14 Page 7 of 20

Excess Insurance Policy

LIBERTY INSURANCE UNDERWRITERS INC.

(A New York Stock Insurance Company, hereinafter the “Insurer’)

ENDORSEMENT NO, 3

THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

Named Insured) © CAMERON INTERNATIONAL CORPORATION
Policy Number: LQ1B71198583046
Effective Date: July 1, 2009

NUCLEAR ENERGY LIABILITY EXCLUSION ENDORSEMENT
This endorsement changes the policy as follows:
This policy does not apply to:
A. Any “loss”:

1. with respect to which any Insured under this policy is also an Insured under a nuclear energy liability
. policy issued by Nuclear Energy Liability Insurance Association, Mutual Atomic, Energy Liability
Underwriters, Nucleat Insutance Association of Canada or any of their successors, or would be an

Insured under any such policy but for its Limit of Insurance: or
2. resulting from the “hazardous properties” of “nuclear material” and with respect to which:

a) a person of organization is tequired to maintain financial protection pursuant to the Atomic
Energy Act of 1954, or any law amendatory thereof; or

b) any Insured is, or had this policy not been issued would be entitled to indemnity from the United
States of America, or any agency thereof, under any agreement entered into by the United States

of America, or any agency thereof, with any person or organization.

B. Any injury or “nuclear property damage” resulting from the “hazardous properties” of “nuclear
material,” ifs

1. The “nuclear material,”
a) is at any “nuclear facility” owned by, or operated by or on behalf of, any insured; or
b) has been discharged or dispersed therefrom;

2. the “nuclear material” is contained in “spent fuel” or “nuclear waste” at any time possessed, handled, used,
processed, stored, transported or disposed of by or on behalf of any Insured; or

0102-XS (Ed. 03/00)

CONFIDENTIAL

LIU 01488

Case 2:10-md-02179-CJB-DPC Document 12440-4 Filed 03/03/14 Page 8 of 20

Excess Insurance Policy

3. the injury or “nuclear property damage” arises out of the furnishing by any Insured of services,
materials, parts or equipment in connection with the planning, construction, maintenance, operation
ot use of any “nuclear facility,” but if such facility is located within the United States of Ametica, its
tetritoties or possessions or Canada, this Exclusion B.3 applies only to “nuclear property damage” to
such “nuclear facility” and any property therein.

As used in this Exclusion:
1. “Hazardous properties” include radio-active, toxic or explosive properties.
2. “Nuclear facility” means:
a) any “nuclear reactor.”
b) any equipment or device designed or used for:

(1) separating the isotopes of uranium or plutonium,

(2) ptocessing or utilizing “spent fuel,” ot

' (3) handling, processing or packaging “nuclear waste”;

c) any equipment or device used for the processing, fabricating or alloying of “special nuclear i
material” if at any time the total amount of such matetial in the custody of the insured at the
premises where such equipment or device is located consists of or contains more than 25 grams :
of plutonium or uranium 233 or any combination thereof, or mote than 250 grams of uranium
235; |

d) any structure, basin, excavation, premises or place prepared or used for the storage or disposal of
“nuclear waste,” and includes the site on which any of the foregoing is located, all operations
conducted on such site and all premises used for such operations;

3. “Nuclear material’ means “source material,” special nuclear material” or “by-product material,”
“special nuclear material” or “by-product material”.

4, “Nuclear property damage” includes all forms of radioactive contamination of property,

“Nuclear reactor” means any apparatus designed or used to sustain nuclear fission in a self-
supporting chain reaction or to contain a critical mass of fissionable material.

6. “Nuclear Waste” means any “nuclear waste” material:

a) containing “by-product material” other than the tailings of “nuclear wastes” produced by the
extraction of concentration of uranium or thorium from any ore processed primarily for its
“source material” content, and

b) resulting from the operation by any person or organization of any “nuclear facility” included
within the definition of “nuclear facility” under Paragraph 2(a) or 2(b).

7. “Source material,’ “special nuclear material,” and by-product matetial have the meanings given them
in the Atomic Energy Act of 1954 or in any law amendatory thereof.

0102-XS (Ed. 03/00) i

CONFIDENTIAL LIU 01489

Case 2:10-md-02179-CJB-DPC Document 12440-4 Filed 03/03/14 Page 9 of 20

Excess Insurance Policy

8. “Spent fuel” means any fuel element or fuel component, solid or liquid, which has been used or
exposed to radiation in a “nuclear reactor.”

This endorsement does not change any other provisions of the policy.

0102-XS (Ed. 03/00)

CONFIDENTIAL LIU 01490

Case 2:10-md-02179-CJB-DPC Document 12440-4 Filed 03/03/14 Page 10 of 20

Excess Insurance Policy

LIBERTY INSURANCE UNDERWRITERS INC.

(A New York Stock Insurance Company, hereinafter the “Insurer”)

ENDORSEMENT NO. 4

THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

Named Insured: CAMERON INTERNATIONAL CORPORATION
Policy Number: LQ1B71198583046.,
Effective Date: July 1, 2009

POLLUTION LIMITATION ENDORSEMENT-FOLLOW FORM

This endorsement modifies insurance provided under the following:
EXCESS LIABILITY POLICY
This insurance does not apply to:

Any “loss,” including but not limited to settlements, judgments, costs, charges, expenses, costs of
investigations, or the fees of attorneys, experts, or consultants, arising out of ot in anyway related to:

1. The actual, alleged, or threatened presence, discharge, dispersal, seepage, migration, release, or escape
of “pollutants,” however caused.

2, Any request, demand or order that any Insured or others test for, monitor, clean up, remove,
contain, treat, detoxify, neutralize or in anyway tespond to or assess the effects of “pollutants.” This
includes demands, directives, complaints, suits, orders or requests brought by any governmental
entity or by any person or group of persons.

3. Steps taken or amounts incurred by a governmental unit or any other person or organization to test
for, monitor, clean-up, remove, contain, treat, detoxify or neutralize or assess the effects of
“pollutants,”

This exclusion will apply to any “loss,” costs, chatges, or expenses, or any judgments or settlements, arising
directly or indirectly out of pollution whether or not the pollution was sudden, accidental, gradual, intended,
expected, unexpected, preventable or not preventable.

As used in this exclusion “pollutants” means any solid, liquid, gaseous, or thermal irritant or contaminant,
including, but not limited to smoke, vapor, soot, fumes, acids, alkalis, chemicals and waste material. Waste
material includes materials, which are intended to be or have been recycled, reconditioned or reclaimed.

However, it is agreed that this exclusion does not apply to any “loss” described above for which coverage is
afforded under Illinois National Insurance Company Policy Number: 27471353, Form Number: As per on

file with company, and then for no broader coverage than is afforded by such insurance (hereafter referred to
as “Underlying Pollution Coverage”).

a 2
0160-XS (Hd 03/00)

CONFIDENTIAL LIU 01491

Case 2:10-md-02179-CJB-DPC Document 12440-4 Filed 03/03/14 Page 11 of 20

Excess Insurance Policy

In the event that the “Underlying Pollution Coverage is amended or deleted after the inception date of this
policy the Company must be so advised in writing within fourteen (14) days after the effective date of such
amendment or deletion, Any amendment which broadens coverage under the “Underlying Pollution i
Coverage” shall not be binding upon the Company unless its agreement is acknowledged in writing by an i
authorized representative of the Company.

AU other terms and conditions of this policy remain unchanged.

0160-XS (Ed 03/00)

CONFIDENTIAL LIU 01492

Case 2:10-md-02179-CJB-DPC Document 12440-4 Filed 03/03/14 Page 12 of 20

Excess Insurance Policy

LIBERTY INSURANCE UNDERWRITERS INC.

(A New York Stock Insurance Company, hereinafter the “Insurer”)

ENDORSEMENT NO. 5

THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

Named Insured: CAMERON INTERNATIONAL CORPORATION
Policy Number: 1LQ1B71198583046
Effective Date: July 1, 2009

WAR LIABILITY EXCLUSION ENDORSEMENT

Itis hereby agreed that the Policy shall be amended as follows:
This Policy does not apply to any “loss”, however caused, acising, directly or inditectly, out of:
(1) War, including undeclared or civil war; or

(2) Warlike action by a military force, including action in hindering or defending against an actual or
expected attack, by any government, sovereign or other authority using military personnel or other
agents; or :

(3) Insurrection, rebellion, revolution, usurped power, or action taken by governmental authority in
hindering or defending apainst any of these.

All other terms, conditions, and exclusions of this policy remain unchanged.

1
Excess 4011 (05/06)

CONFIDENTIAL LIU 01493

Case 2:10-md-02179-CJB-DPC Document 12440-4 Filed 03/03/14 Page 13 of 20

Excess Insurance Policy

LIBERTY INSURANCE UNDERWRITERS INC.

(A New York Stock Insurance Company, hereinafter the “Insurer’}

ENDORSEMENT NO. 6

THIS ENDORSEMENT CHANGES THE FOLICY. PLEASE READ IT CAREFULLY.

Named Insured’) CAMERON INTERNATIONAL CORPORATION
Policy Number: LQ1B71198583046
Effective Date: July 1, 2009

TEXAS AMENDATORY ENDORSEMENT

Itis agreed that Section V., Condition C., is amended by adding the following to paragraph 2:
Any written notice of cancellation will state the reasons therefore.
itis further agreed that Section V., Condition C., is amended by adding the following:

9. If this is a policy that is in its initial policy period and has been in effect for more than sixty (60) days
following the date on which the policy was issued, ot if this is a renewal or continuation of a policy we
issued, we may not cancel this policy except for one or more of the following reasons:

a) Nonpayment of premium;
b) Fraud in obtaining the policy;
¢) An increase in hazard within the control of the Insured which would produce an increase in rate;

d) Our placement into supervision, conservatorship, or receivership, if the cancellation or nonrenewal is
approved or directed by the supervisor, conservator, or receiver; or

e) Loss of our reinsurance covering all or part of the risk covered by the policy

Nontenewal

10. We may choose not to renew this policy by delivering written notice to the Named Insured at the last
address shown in the Declarations. We will provide written notice of nonrenewal at Jeast sixty (60) days
prior to the expiration of the policy, except that if we have been placed in supervision, conservatorship or
receivership and we choose not to renew the policy with the approval or at the direction of the supervisor,
consetvator or receiver only, we will only be required to provide notice of nonrenewal at least ten (10) days
priot to expiration of the policy. Any notice of nontenewal shall state the reasons for the nonrenewal. A

transfer of coverage for the Named Insured within the same insurance group will not be considered a
refusal to renew.

11. If-we fail to provide notice of nonrenewal at least sixty (60) days before the expiration of the policy, the
policy will remain in effect until the sixty-first (61st) day after we have provided the Named Insured with
such notice, Earned premium for any such continuation of coverage beyond the expiration date of the
policy will be calculated pro tata based on the previous year’s rates.

12. We may not cancel or refuse to renew this policy based solely on the fact you are an elected official.

2
E-TX-XS (Ea, 03 02)

CONFIDENTIAL LIU 01494

Case 2:10-md-02179-CJB-DPC Document 12440-4 Filed 03/03/14 Page 14 of 20

Excess Insurance Policy

Itis further agreed that Section V., Condition E., is amended by adding the following:

5. We will provide written notice to the Named Insured of our receipt of an initial offer to compromise or

settle a claim made against you under this policy. We will provide such notice within ten (10) days after we
receive the offer to compromise or settle,

6. Within thirty (30) days after the date of any settlement of a claim under this policy, we will notify the
Named Insured in writing of such settlement.

This endorsement does not change any other provision of the policy.

2
I-1X-XS (Ed. 03 02)

CONFIDENTIAL LIU 01495

Case 2:10-md-02179-CJB-DPC Document 12440-4 Filed 03/03/14 Page 15 of 20

Excess Insurance Policy

LIBERTY INSURANCE UNDERWRITERS INC.

. (A New York Stock Insurance Company, hereinafter the “Insuter”)

ENDORSEMENT NO. 7

'

Named Insured: CAMERON INTERNATIONAL CORPORATION
Policy Numbet: LQ1B71198583046
Effective Date: July 1, 2009

THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.

EXCLUSION OF CERTIFIED ACTS OF TERRORISM

This endorsement modifies insurance provided under the following:
Excess Insurance Policy

A. The following exclusion is added:
This insurance does not apply to any “loss” arising out of or related in any way, whether directly or indirectly to:
TERRORISM

B. ‘The following definitions are added:

1. For the purposes of this endorsement, “any injury or damage” means any injury or darnage covered under any Coverage
Part to which this endorsement is applicable, and includes but is not limited to “bodily injury”, “property damage”,
“personal and advertising injury”, “injury” or “environmental damage” as may be defined in any applicable Coverage Part
or underlying insurance,

2. “Certified act of terrorism” means an act that is certified by the Secretary of the Treasury, in concutrence with the Secretary
of State and the Attomey General of the United States, to be an act of terrorism pursuant to the federal Terrorism Risk
Insurance Act. The criteria contained in the Terrorism Risk Insurance Act fora “certified act of terrorism” include the
following:

a. The act resulted in insured losses in excess of $5 million in the aggregate, attributable to all types of insurance subject
to the Terrorism Risk Insurance Act; and

~b. The act is a violent act or an act that is dangerous to human life, property or infrastructure and is committed by an
individual or individuals as part of an effort to coerce the civilian population of the United States or to influence the
policy or affect the conduct of the United States Government by coercion.

_

TRIA-EX-E001-0208 Includes copyrighted material of Insurance Services Office, Inc., used with its permission

CONFIDENTIAL LIU 01496

Case 2:10-md-02179-CJB-DPC Document 12440-4 Filed 03/03/14 Page 16 of 20

Excess Insurance Policy

TEXAS NOTICE

IMPORTANT NOTICE
To obtain information or make a complaint:

You may call Liberty International Underwriters’ toll-free

telephone number for information or to make a complaint at:

1-800-344-0197

You may also write to Liberty International Underwriters at:

Presidential Service Team

Liberty International Underwriters
175 Berkeley St. MS 10B

Boston, MA 02116

You may contact the Texas Department of Insurance to
obtain information on companies, coverages, rights or
complaints at:

1-800-252-3439

You may write the Texas Department of Insurance:

P.O. Box 149104

Austin, TX 78714-9104

FAX # (512) 475-1771

Web: http://www. tdi.state.tx.us

E-mail: consumerprotection@tdi,state.tx.us

PREMIUM OR CLAIM DISPUTES:

Should you have a dispute concerning your premium or
about a claim you should contact the (agent) (company)
(agent or the company) first. If the dispute is not resolved,
you may contact the Téxas Department of Insurance

ATTACH THIS NOTICE TO YOUR POLICY: This
notice is for information only and does not become a part or
condition of the attached document.

AVISO IMPORTANTE
Pata obtener informacion o para someter una queja:

Usted puede Ilamar al numero de telefono gratis de Liberty
International Underwriters’ para informacion o para sometet
una queja al:

1-800-344-0197

Usted tambien puede escribir a Liberty International
Underwriters:

Presidential Service Team

Liberty International Underwriters
175 Berkeley St. MS 10B

Boston, MA 02116

Puede comunicarse con el Departamento de Seguros de
Texas pata obtener informacion acerca de companies,
coberturas, derechos 0 quejas al:

1-800-252-3439

Puede escribir al Departamento de Seguros de Texas:

P. O. Box 149104

Austin, TX 78714-9104

FAX # (512) 475-1771

Web: heep:/ /wavw.tdi.state.tx,us

E-mail: consumerprotection@rdi.state.ty.us

DISPUTAS SOBRE PRIMAS O RECLAMOS:

Si tiene una disputa concerniente a su prima o a un reclamo,
debe comunicarse con el (agente) (la compania) (agente o la
compania) primero. Si no se resuelve Ja disputa, puede
entonces comunicarsé con el Departamento de Seguros de
Texas.

UNA ESTE AVISO A SU POLIZA: Este aviso es solo
para ptoposito de informacion y no se convierte en parte o
condicion del documento adjunto.

LIUNOTICE-TX-002-0209

CONFIDENTIAL

LIU 01497

Case 2:10-md-02179-CJB-DPC Document 12440-4 Filed 03/03/14 Page 17 of 20

Excess Insurance Policy

LIBERTY INSURANCE UNDERWRITERS INC.

(A New York Stock Insurance Company, hereinafter the “Insurer’)
55 Water Street, 18" Floor; New York, NY 16041
Toll-free number: 1-800-677-9163

EXCESS LIABILITY POLICY

There are provisions in this policy that restrict coverage. Read the entire policy carefully to determine rights, duties, and

what is and is not covered.

Words and phrases in quotation marks have special meaning and can be found in the Definitions or the specific policy

’ provision where they appear.

In consideration of the payment of the premium and in reliance upon the statements in the Declarations, and subject
all terms of this policy, we agree with you to provide coverage as follows:

INSURING AGREEMENTS
I, COVERAGE

to

We will pay on behalf of the Insured “loss” that results from an occurrence during the “policy period.” We will pay

“Joss” in excess of the Underlying Insurance shown in Item 5. of the Declarations, but only up to an amount not
exceeding our Limits of Liability as shown in Item 4. of the Declarations. Except for any definitions, terms,

conditions and exclusions of this policy, the coverage provided by this policy is subject to the terms and conditions

of the First Undeslying Insurance Policy, as shown in Item 5. of the Declarations.

The inclusion or addition hereunder of more than one Insured shall not operate to increase our Limits of Liability

beyond that shown in Item 4. of the Declarations.

We will be furnished a complete copy of the First Underlying Insurance Policy described in Item 5. of the
Declarations.

Il. LIMITS OF LIABILITY

A. The Limits of Liability shown in Item 4. of the Declarations and the rules below describe the most we will pay

regardless of the number of:
i. Insureds;
2. claims made or suits brought; or
3, petsons or organizations making claims or bringing suits.
B. The Limits of Liability of this policy will apply as follows:
1. This policy applies only in excess of the Underlying Insurance shown in Item 5. of the Declarations.

2. The aggregate limit shown in Item 4. of the Declarations is the most we will pay for all “loss” that is
subject to an ageregate limit provided by the First Underlying Insurance Policy. The aggregate limit
applies separately and in the same manner as the agpregate limits provided by the First Underlying
Insurance Policy.

3. Subject to Paragraph B.2. above, the occurrence limit shown in Item 4. of the Declarations is the most we

will pay for all “loss” arising out of any one occutrence to which this policy applies.

x

0101-XS (Ed. 03 00)

CONFIDENTIAL

LIU 01498

Case 2:10-md-02179-CJB-DPC Document 12440-4 Filed 03/03/14 Page 18 of 20

Excess Insurance Policy

4, Subject to Paragraphs B.2. and B.3. above, if the limits of liability of the Underlying Insurance shown in
Item 5. of the Declarations ate reduced or exhausted solely by payment of “loss”, such insurance provided
by this policy will apply in excess of the reduced Underlying Insurance ot, if all such coverage is exhausted,
will apply as underlying insurance subject to the same terms, conditions, definitions and exclusions of the
First Underlying Insurance Policy, except for any definitions, terms, conditions and exclusions of this
policy.

5. The Limits of Liability of this policy apply separately to each consecutive annual period and to any .
temaining period of less than twelve (12) months, starting with the beginning of the “policy period” shown
in the Declarations, unless the “policy period” is extended after issuance for an additional period of less
than twelve (12) months. In that case, the additonal period will be deemed part of the last preceding
petiod for purposes of determining the Limits of Liability.

lit, DEFENSE
A. We will not be required to assume charge of the investigation of any claim or defense of any suit against you.
B, We will have the right, but not the duty, to be associated with you or your underlying insurer or both in the

investigation of any claim or defense of any suit which in our opinion may create liability on us for “loss” under
this policy. If we exercise such tight, we will do so at our own expense.

C. If the limits of liability of the Underlying Insurance shown in Item 5. of the Declarations are exhausted solely
by payment of “loss”, we shall have the right bur not the duty to investigate and settle any claim or assume the
defense of any suit which, in our opinion, may give rise to a “loss” under this policy. Such investigation or
defense shall be at our own expense, We may, however, withdraw from the defense of such suit and tender the
continued defense to you if our applicable Limits of Liability shown in Item 4. of the Declarations are
exhausted by payment of “loss,”

IV. DEFINITIONS

“Loss” means those sums which you are legally obligated to pay as damages, after making proper deductions for all
recoveries and salvage, which damages are covered by the First Underlying Insurance Policy.

“Policy period” means the period from the inception date of this policy to the expiration date stated in the
yP P incep a policy P
Declarations, or any earlier date of cancellation or termination,

Vv. CONDITIONS
A. Appeals

In the event you or the insurer(s) of the Underlying Insurance shown in Item 5. of the Declarations elects not
to appeal a judgment in excess of the amount of the Underlying Insurance, we may elect to appeal at our
expense. If we do so elect, we will be liable for the costs and additional interest accruing during this appeal. In
no event will this provision increase out liability beyond the applicable Limits of Liability as set forth in Section
I. of this policy and as shown in Item 4. of the Declarations.

B. Bankruptcy or Insolvency
The bankruptcy, insolvency or inability to pay of any Insured will not telieve us from our obligation to pay
“Joss” covered by this policy,

In the event of bankruptcy, insolvency or tefusal or inability to pay, of the insuret(s) of the Underlying
Insurance shown in Item 5. of the Declarations, the insurance afforded by this policy will not replace such
Underlying Insurance, but will apply as if the Underlying Insurance was fully available and collectible.

Cc. Cancellation

a

0101-XS (Ed. 03 00)

CONFIDENTIAL LIU 01499

Case 2:10-md-02179-CJB-DPC Document 12440-4 Filed 03/03/14 Page 19 of 20

Excess Insurance Policy

8.

You may cancel this policy. You must mail or deliver advance written notice to us stating when the
cancellation is to take effect

We may cancel this policy. If we cancel because of non-payment of premium, we will mail or deliver to
you not less than ten (10) days advance written notice stating when the cancellation is to take effect. If we
cancel for any other reason, we will mail or deliver to you nat less than thirty (30) days advance written
notice stating when the cancellation is to take effect. Mailing that notice to you at your mailing address
shown in Item 1. of the Declarations will be sufficient to prove notice.

The “policy period” will end on the day and hour stated in the cancellation notice,
Tf we cancel, final premium will be calculated pro rata based on the time this policy was in force,

Lf you cancel, final premium will be more than pro rata; it will be based on the time this policy was in force
and increased by our short tate cancellation table and procedure.

Premium adjustment may be made at the time of cancellation or as soon as practicable thereafter, but the
cancellation will be effective even if we have not made or offered any refund due you. Our check or our
teptesentative’s check, mailed or delivered, will be sufficient tender of any refund due you.

The Named Insured shown in Item 1. of the Declarations will act on behalf of all other Insureds with
respect to the giving and receiving of notice of cancellation and the receipt of any refund that may become
payable under this policy.

Any of these provision that conflict with a law that controls the cancellation of the insurance in this policy
is changed by this statement to comply with the law.

D. Maintenance of Underlying Insurance

‘Duting the “policy period”, you agree:

1

To keep the policies listed in the Schedule of Underlying Insurance as shown in Item 5. of the
Declarations in full force and effect;

That the Limits of Liability of the policies listed in the Schedule of Underlying Insurance as shown in Item
5. of the Declarations will be maintained except for any reduction or exhaustion of aggregate limits by
payment of “loss” in claims or suits coveted by the Underlying Insurance.

If you fail to comply with these requirements, we will only be liable to the same extent that we would have
been had you fully complied with these requirements,

E. Notice of Occurrence

1.

You must see to it that we are notified as soon as practicable of an occurrence which may result in a “loss”
covered under this policy. To the extent possible, notice will include:

a) how, when and where the occurrence took place;
b) the names and addresses of any injured persons and witnesses;
c) the nature and location of any injury or damage arising out of the occurrence.

Ifa claim or suit against any Insured is reasonably likely to involve this policy, you must notify us in
writing as soon as practicable.

You and any other involved Insured must:

a

O101-XS (Ed. 03 00)

CONFIDENTIAL . LIU 01500

Case 2:10-md-02179-CJB-DPC Document 12440-4 Filed 03/03/14 Page 20 of 20

Excess Insurance Policy

2) immediately send us copies of any demands, notices, summonses or legal documentation received in
connection with a claim or suit;

b) authorize us to obtain records and other information;
c) cooperate with us in the investigation, settlement or defense of the claim or suit; and

d) assist us, upon our request, in the enforcement of any right against any person or organization which
may be liable to the Insured because of injury or damage to which this insurance may also apply.

4. The Insureds will not, except at their own cost, voluntarily make a payment, assume any obligation, or
incur any expense, other than for first aid, without our consent,

F. Other Insurance

If other insurance applies to a “loss” that is also covered by this policy, this policy will apply excess of such
other insurance. Nothing herein will be construed to make this policy subject to the definitions, terms,
conditions and exclusions of such other insurance. However, this provision will not apply if the other
insurance is specifically written to be excess of this policy.

Other insurance includes any type of self-insurance, indemnification or other mechanism by which an Insured
arranges for funding of legal liabilities.

G. Terms Conformed to Statute

‘The terms of this policy which are in conflict with the statutes of the state where this policy is issued are
amended to conform to such statutes. If we are prevented by law or statute from paying on behalf of the
Insured, then we will, where permitted by law or statute, indemnify the Insured.

H. When “Loss” is Payable

Coverage under this policy will not apply unless and until you or the insurer(s) of the Underlying Insurance
shown in Item 5. of the Declarations has paid or is obligated to pay the full amount of such Limits of Liability.

When the amount of “loss” has finally been determined, we will promptly pay on your behalf the amount of
“loss” coveted under this policy.

In Witness Wheteof, the Insurer has caused this policy to be executed and attested, but this Policy shall not be
valid unless countersigned on the Declarations Page by a duly authorized agent of the Insurer.

A000 Duxtr £ Lay

PRESIDENT VICE PRESIDENT and SECRETARY
David A, Cohen Dexter R. Lege

nm

0101-XS (Ed. 03 00)

CONFIDENTIAL LIU 01501

